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   AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations
             Sheet 1



                                          UNITED STATES DISTRICT COURT
                             MIDDLE                                 Distnct of                                  ALABAMA
          UNITED STATES OF AMERICA                                           AMENDED JUDGMENT IN A CRIMINAL CASE
                                 V.                                          (For Revocation of Probation or Supervised Release)


               FRAZIER L. FRANKLIN                                           Case Number:                     1:Olcrl5O-WHA-02
                                                                             USM Number:                      10941-002
                                                                                           Michael Petersen
                                                                             Defendant's Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s) 1 and 2* of the petition                         of the term of supervision.
D was found in violation of condition(s) _____________________________ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                      Nature of Violation                                                           Violation Ended
        1                             Failure to refrain from any unlawful use of a controlled substance               7/14/08
        2*                            Failure to pay restitution*                                                      8/08




       The defendant is sentenced as provided in pages 2 through                    2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X The defendant has not violated condition(s)                  3* of the petition       and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Defendant's Soc. Sec. No.:                ***..**.4014                                        August 21, 2008
                                                                             Date of Imposition of Judgmen
Defendant's Date of Birth:                1978


Defendant's Residence Address:

         Midland Cit y, AL

                                                                            W. Harold Albritton, Senior United States District Judge
                                                                            Name and Title of Judge




Defendant's Mailing Address:
                                                                            Date          7           7
       Midland City , AL
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A0 245D      (Rev. 12/03 Judgment in a Criminal Case for Revocations
             Sheet 2— Imprisonment

                                                                                                     Judgment - Page   2   of   2
DEFENDANT:                   FRAZIER L. FRANKLIN
CASE NUMBER:                 l:Olcrl5O-WHA-02


                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
12 months.
It is ORDERED that the term of supervised released imposed on February 20, 2007, is REVOKED.
The court has taken into consideration the policy statements in Chapter 7 of the Guidelines Manual, the guideline
range, and all relevant information in imposing the sentence at 12 months.

    X The court makes the following recommendations to the Bureau of Prisons:

        The court recommends that the Defendant be designated to a facility where substance abuse treatment is available.



    X The defendant is remanded to the custody of the United States Marshal.

    LI The defendant shall surrender to the United States Marshal for this district:

        El    at    ___________________ LI am. LI p.m. on ____________
        LI as notified by the United States Marshal.

    LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        LI before 2p.m. on

        LI as notified by the United States Marshal.

        LI as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                          to

a                                                    with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                          By
                                                                                               DEPUTY UNITED STATES MARSHAL
